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                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH


  KANE COUNTY, UTAH (2), (3), and (4), a Utah DEFENDANT UNITED STATES’
  political subdivision; and STATE OF UTAH,          RESPONSE TO PLAINTIFFS’
                                                     REQUEST FOR HEARING
          Plaintiffs (or Plaintiff-Intervenor, as to [ECF No. 786]
          State of Utah in Kane County (2)),
                                                     Case Nos. 2:10-cv-01073-CW;
  v.
                                                     (Consolidated with Case Nos. 2:11-cv-
  UNITED STATES OF AMERICA,                          1031-CW and 2:12-cv-476-CW)

          Defendant,                                  Judge Clark Waddoups

  and

  SOUTHERN UTAH WILDERNESS
  ALLIANCE, et al.,

          Defendant-Intervenors.



        On Friday, July 19, 2024, Plaintiffs Kane County and the State of Utah filed a Request

for Hearing [ECF No. 786] (the “Request”). On July 23, 2024, this Court issued an Order
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Setting Hearing and Granting Leave to Conduct Limited Discovery [ECF No. 787] (the

“Order”). The United States provides this response because the Request is not tied to a specific

motion pending before the Court and, therefore, is confusing. The purpose for the evidentiary

hearing (now set for August 21-22, 2024, Order at 1), which will inform the appropriate

witnesses, requires clarification.

       The Request asks for “a hearing . . . to address the long-needed installation of box

culverts on the K6000 House Rock Valley Road at the Buckskin Wash crossing.” Request at 1-

2. But the Request is not tied to any pending motion that could be heard or that would require

the examination of evidence. Indeed, the only pending motion relating to this particular road

claim is the United States’ motion to dismiss [ECF 755].

       To be sure, Plaintiffs filed a notice on April 4, 2024 [ECF No. 782] (the “First Notice”)

requesting that the Court issue a ruling on the United States’s motions to dismiss. But the Court

had already held a hearing on these motions on July 27, 2023, see ECF Nos. 767-69, and

partially decided the motions to resolve an issue not raised for the K6000 claim. Compare ECF

No. 773 at 11-12 (“[T]he court concludes Utah’s seven-year statute of limitations does not bar

the Bellwether road claims”) with ECF No. 755 (motion to dismiss including the K6000 claim).

With respect to the K6000 claim, the issue of whether title has been disputed within the meaning

of the Quiet Title Act remains undecided, see ECF No. 773 at 7 and n.4, and supplemental

briefing has been ordered and completed, see ECF No. 773 at 11; ECF Nos. 776, 780, and 781.

Notably, Plaintiffs’ First Notice did not then request a further hearing on that remaining issue, or

any other still-pending aspect of the United States’s motions to dismiss. While it is unclear if the

Request now seeks a further hearing, after supplemental briefing, on the motion to dismiss

specific to the K6000 claim [ECF No. 755], the United States has no objection to construing the



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Request in this manner. However, the Request does not identify the type of evidence that might

be relevant to resolving this motion to dismiss. Indeed, as the Court previously observed,

resolution of these motions to dismiss would focus on “whether the United States’ position was

legally correct.” ECF No. 773 at 7 (emphasis added). Any such hearing, therefore, would not be

an evidentiary hearing.

       An alternate interpretation of the Request is that it relates to a second Notice also filed in

April 2024. See ECF No. 783 (the “Second Notice”). This Second Notice, filed only by Plaintiff

Kane County, also raised the asserted “serious need for box culverts to be installed on the K6000

House Rock Valley Road at the Buckskin Gulch crossing.” Second Notice at 3. But, as the

United States then noted in its Response, “the County may not unilaterally take action to improve

the road.” See Response, ECF No. 784. And the County then acknowledged that “Kane County

will not be installing the culverts Monday, but we will seek a hearing before Judge Waddoups.”

ECF No. 784-1 at 4. No other information was provided about this suggested hearing, and at no

time did any Plaintiff even suggest that an evidentiary hearing might be proper or necessary. If

the Request now seeks the hearing suggested in the correspondence attached to the Response to

the Second Notice, the United States has no objection to a generalized status hearing. However,

there does not appear to be any basis for (or need for) an evidentiary hearing at this time.

       Because the K6000 claim is currently subject to a motion to dismiss for lack of disputed

title, and because this claim was not part of the Court’s first “bellwether” trial, the current

Request cannot relate to that part of the First Notice seeking to have the Court “determine the

issue of title with respect to the fifteen Bellwether Roads.” First Notice at 8. Indeed, the

Request does not even mention the first “bellwether” trial. Moreover, any attempt to use the

upcoming hearing to resolve the issue of title for the K6000 claim would be contrary to the



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Court’s Modified Bellwether Management Order [ECF No. 754], where the Court stated that

“[i]f jurisdiction is resolved in Plaintiffs’ favor, Plaintiffs may proceed on summary judgment for

the K6000 House Rock Valley Road.” And, as noted above, the K6000 claim is still subject to a

motion to dismiss, and jurisdiction has yet to be resolved.

        A third (charitable) interpretation of the Request could be to view it as a proactive request

for a scheduling conference to address the K6000 claim, if jurisdiction is resolved in Plaintiffs’

favor. To the extent that the Request is interpreted in this manner, the United States has no

objection to a generalized scheduling conference. And if this claim eventually proceeds to

summary judgment, it may be possible that an evidentiary hearing could then be appropriate.

But, again, there does not appear to be any basis for (or need for) an evidentiary hearing at this

time.

        Given this Court’s July 23, 2024 Order, the United States has begun to confer with

Plaintiffs about “appropriate witness[es].” Order at 1. Plaintiffs have indicated that they intend

to bring two witnesses to the upcoming hearing – Bert Harris and Sheriff Tracy Glover. While

any future motion for summary judgment would normally proceed through discovery, to the

extent that Plaintiffs’ Request seeks to try to use the upcoming evidentiary hearing to adduce

evidence for such a motion for summary judgment, the United States would object unless it has

been provided an adequate opportunity for discovery in advance.1 Plaintiffs have also inquired

about any United States witnesses for the upcoming evidentiary hearing. But, as noted above,

jurisdiction has not yet been resolved in Plaintiffs’ favor and, even if it were, there is no motion

for summary judgment yet before the court. Thus, at present, and without further clarification,




        1
              The parties are currently conferring about depositions for Messrs. Harris and
Glover in advance of the upcoming hearing.
                                                 -4-
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the United States has not yet determined whether it wants to try to use the upcoming evidentiary

hearing to adduce evidence for a possible future motion for summary judgment.2

       A few other issues in the Request merit addressing at this time. First, the Request

appears to acknowledge that the road work they want to discuss at this hearing – to install a

culvert for the first time in an area where there is not an existing culvert to replace – would

constitute an “improvement” as defined by the Tenth Circuit. See Request at 8 (quoting SUWA

v. BLM, 425 F.3d 735, 749 (10th Cir. 2005). But Plaintiffs then go on to suggest that this Court

may ignore this holding. See id. at 9-10. That suggestion is improper.3 Consistent with the

bellwether process, this is the type of issue that could be appealed to the Tenth Circuit (or may

require an en banc appeal), but neither the parties nor this Court may ignore the long-standing

distinction between maintenance and improvement noted with approval by the Tenth Circuit

since at least as far back as SUWA v. BLM.



       2
                To the extent that the United States decides to present any witnesses, it will confer
with the parties and work with them to similarly provide the opportunity for deposition(s) in
advance of the upcoming hearing.
        Moreover, to the extent that Plaintiffs are suggesting that “Harry Barber” is not “a duly
authorized management witness from Interior,” they are simply incorrect, “[a]s shown in the
remand trial in Kane County (1) v. United States, No. 08-cv-0315 CW (D. Utah))[.]” Compare
Request at 10-11 with, e.g., Kane (1), ECF No. 393 at 358 (lines 5-22) and 360 (lines 3-25) (Dec.
8, 2022 trial transcript for Harry Barber noting his authority as District Manager for the Paria
River District and that he took a particular action involving an asserted R.S. 2477 right-of-way
for BLM in his role as District Manager). Of course, whether Mr. Barber would be an
appropriate witness for the upcoming hearing would depend on the specifics to be addressed at
that hearing. As noted, further clarification is required in this regard.
       3
                To the extent that Plaintiffs are attempting to rely on Loper Bright Enters. v.
Raimondo, 144 S. Ct. 2244 (2024), see Response at 9, that reliance is misplaced for at least two
reasons. For one, the panel in SUWA v BLM expressly rejected any reliance on or use of
Chevron deference. See SUWA v BLM, 425 F.3d at 759-60. And, even if SUWA v. BLM had
relied on Chevron, the Supreme Court has made clear that it would “not call into question prior
cases that relied on the Chevron framework” and that “[m]ere reliance on Chevron cannot
constitute a ‘special justification’ for overruling such a holding.” Loper Bright, 144 S. Ct. at
2273.
                                                 -5-
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       Second, the Request briefly suggests that, perhaps at the conclusion of the evidentiary

hearing, “the Court should enter its order allowing the County to install box culverts at Buckskin

Wash, even on an interim basis and regardless of title to the road.” Request at 11; see also id. at

2. But the Court lacks authority to grant any such relief. This case is limited to an action under

the Quiet Title Act, 28 U.S. Code § 2409a, which thus limits this action to questions of disputed

title (including, as appropriate, associated questions of scope). As noted above, title has not yet

been determined for this claim. And the Quiet Title Act explicitly provides both that “[t]he

United States shall not be disturbed in possession or control of any real property involved in any

action under this section pending a final judgment or decree,” and that “[n]o preliminary

injunction shall issue in any action brought under this section.” 28 U.S.C. § 2409a(b) and (c).

       Third, the Request also briefly suggests that the requested hearing could somehow

“require the BLM to pay for the excess maintenance and response costs” that Plaintiffs assert

exist and could be somehow attributed to the United States. Request at 2, 11. But no authority is

provided for this assertion. Plaintiffs have raised a similar issue in the related Kane (1) case also

without any explanation or authority. See Kane (1), ECF No. 430 at 3 (discussing the

Skutumpah Road and stating that “[c]ompensation to the County caused by the United States’

interference will be addressed later”).

       Finally, as noted in the correspondence associated with the Second Notice, any discussion

about the work proposed in the Second Notice and again in the Request would first require

“more details” about the proposed work. See ECF No. 784-1 at 2; see also id. at 5 (noting the

need for “more specific details about the proposed work”). No such details have yet been

provided. To the extent that Plaintiffs seek a hearing to discuss this proposed work, they should




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provide such details sufficiently in advance of any hearing to allow them to properly be

discussed at a hearing.

       Respectfully submitted this 1st day of August, 2024,

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